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                                       VERDICT FORM
  Question 1:
  Has Rockwell proved by a preponderance of the evidence that WiAutomation has committed
  trademark infringement?
  Yes _________ (for Rockwell)                       No _________ (for WiAutomation)


  If you answered “Yes” to Question 1, proceed to Question 2. If you answered “No” to Question
  1, proceed to Question 3.


  Question 2:
  If you answered “yes” to Question 1, do you find that WiAutomation’s trademark infringement
  was willful?
  Yes _________ (for Rockwell)                       No _________ (for WiAutomation)


  Question 3:
  Has Rockwell proved by a preponderance of the evidence that WiAutomation committed false
  designation of origin?
  Yes _________ (for Rockwell)                       No _________ (for WiAutomation)


  If you answered “Yes” to Question 4, proceed to Question 4. If you answered “No” to Question
  3, proceed to Question 5.


  Question 4:
  If you answered “yes” to Question 5, do you find that WiAutomation’s false designation of
  origin was willful?
  Yes _________ (for Rockwell)                       No _________ (for WiAutomation)


  Question 5:
  Has Rockwell proved by a preponderance of the evidence that WiAutomation engaged in false
  advertising?
  Yes _________ (for Rockwell)                       No _________ (for WiAutomation)
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  If you answered “Yes” to Question 5, proceed to Question 6. If you answered “No” to Question
  5, proceed to Question 7.


  Question 6:
  If you answered “yes” to Question 3, do you find that WiAutomation’s false advertising was
  willful?
  Yes _________ (for Rockwell)                        No _________ (for WiAutomation)


  Question 7:
  Has Rockwell proved by a preponderance of the evidence that WiAutomation has engaged in a
  deceptive trade practice? If you answered “yes” to Question 1, then you must also select yes as
  to this question.
  Yes _________ (for Rockwell)                        No _________ (for WiAutomation)


  If you answered “Yes” to Question 7, proceed to Question 8. If you answered “No” to Question
  7, proceed to Question 9.


  Question 8:
  If you answered “yes” to Question 7, do you find that WiAutomation’s deceptive trade practice
  was willful?
  Yes _________ (for Rockwell)                        No _________ (for WiAutomation)


  Question 9:
  Has Rockwell proved by a preponderance of the evidence WiAutomation engaged in unfair
  competition? If you answered “yes” to Question 1, then you must also select yes as to this
  question.
  Yes _________ (for Rockwell)                        No _________ (for WiAutomation)


  If you answered “Yes” to Question 9, proceed to Question 10. If you answered “No” to
  Question 9, proceed to Question 11.
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  Question 10:
  If you answered “yes” to Question 9, do you find that WiAutomation’s unfair competition was
  willful?
  Yes _________ (for Rockwell)                          No _________ (for WiAutomation)


  Question 11:
  Has Rockwell proved by a preponderance of the evidence that WiAutomation sold a product in
  the United States bearing a counterfeit Rockwell trademark? If you answer “yes” to this
  Question, then you must also select yes as to Question 1.
  Yes _________ (for Rockwell)                          No _________ (for WiAutomation)


  If you answered “Yes” to Question 11, proceed to Question 12. If you answered “No” to
  Question 11, proceed to Question 13.


  Question 12:
  If you answered “yes” to Question 11, do you find that WiAutomation’s counterfeit sale(s) was
  willful?
  Yes _________ (for Rockwell)                          No _________ (for WiAutomation)


  If you answered “Yes” to any of questions 1, 3, 5, or 9 proceed to question 13. If you answered
  “No” to all of the questions 1, 3, 5, 7, 9 and 11 stop and proceed to the last page of this verdict
  form. If neither of the above apply, then go to Question 14.


  Question 13:
  What is the profit that Defendant received from the sale of Rockwell-branded products as a result
  of Defendant’s wrongful conduct?
  Defendant’s profit $ ________________________________


  If you answered “Yes” to any of questions 1, 3, 5, 7, or 9 proceed to question 14.
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  Question 14:
  What is the amount of compensatory damages that is appropriate to award to Plaintiff Rockwell
  for Defendant’s wrongful conduct?
  Compensatory Damages $ ________________________________
  If you answered “Yes” to any of Questions proceed to question 15. If you answered “No” to
  question 11 then proceed to Question 16.


  Question 15:
  If you answered “yes” to Question 11 [counterfeiting], what amount of statutory damages is
  appropriate to award to Rockwell?
  Statutory Damages $ ________________________________


  Question 16:
  If you answered yes to Question 9 [common law unfair competition claim], and awarded
  compensatory damages in Question 14, then please enter the amount of punitive damages, if any,
  you have chosen to award.
  Punitive Damages $_____________________________________
